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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff
vs                                         CRIMINAL 13-0155CCC
1) LUIS DIAZ-NATAL, a/k/a “Chencho”
2) JESUS ACOSTA-MILLET,
a/k/a “Lalo”
3) JUAN PEREZ-MORALES,
a/k/a “Charry,” “Joker”
4) JORGE SANCHEZ-PEREZ,
a/k/a “Joey”
5) WILFRIDO COLON-RIVERA,
a/k/a “Bimbo”, “Balu”
6) ISMAEL LOPEZ-RIVERA,
a/k/a “Machito”
7) BIENVENIDO CLAS-OTERO,
a/k/a “Biembe”
8) ARMANDO JIMENEZ-RAMOS,
a/k/a “Chory”
9) ELIUD SERRANO-BARRIOS,
a/k/a “Pipo,” “Pito”
10) RAUL MENDEZ-ROMAN,
a/k/a “Papelin”
11) OMAR GONZALEZ-SOTOMAYOR
12) CHRISTIAN GONZALEZ-
SOTOMAYOR, a/k/a “Bombi”
13) ALEXANDER RODRIGUEZ-
RENTAS
14) LUIS MIGUEL CRUZ-DAVILA
15) ALEXANDER VELEZ-RODRIGUEZ
16) VICTOR ORTIZ-SANTOS,
a/k/a “Manuel,” “Crock”
Defendants



                                  ORDER

     Having considered the Report and Recommendation filed on July 15,
2014 (docket entry 349) on a Rule 11 proceeding of defendant [14] Luis
Miguel Cruz-Dávila before U.S. Magistrate-Judge Bruce J. McGiverin on July 2,
2014, to which no objection has been filed, the same is APPROVED.
Accordingly, the plea of guilty of defendant is accepted. The Court FINDS that
his plea was voluntary and intelligently entered with awareness of his rights
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and the consequences of pleading guilty and contains all elements of the
offense charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since July 2, 2014. The sentencing hearing
is set for October 2, 2014 at 4:30 PM.
      The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on August 5, 2014.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
